                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               COLUMBIA DIVISION


RUBEN CLANTON                                 )
                                              )      Case No. 1:13-0031
v.                                            )      JUDGE SHARP
                                              )
HARTSFORD LIFE AND ACCIDENT                   )
INSURANCE COMPANY                             )


                                           ORDER


       Pursuant to the Joint Stipulation of Dismissal (Docket No. 13) filed by the parties, this

action is hereby dismissed with prejudice pursuant to Rule 41(a) of the Federal Rules of Civil

Procedure.

       It is so ORDERED.



                                                     ____________________________________
                                                     KEVIN H. SHARP
                                                     UNITED STATES DISTRICT JUDGE




     Case 1:13-cv-00031 Document 15 Filed 07/08/13 Page 1 of 1 PageID #: 117
